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                        EXHIBIT N
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Marc G. Schildkraut                                                   By Email to: LCaseria@sheppardmullin.com
+1 202 728 7000
mschildkraut@cooley.com



March 20, 2019


Leo D. Caseria, Esq.
Sheppard Mullin Richter & Hampton, LLP
333 S. Hope St., 43rd Floor
Los Angeles, CA 90071

Re: Defendants’ Notice of Issuance of Subpoena to Testify at a Deposition to Non-Party Dominion
    Enterprises, Inc., MDL No. 2817, Case No. 18 C 864

Dear Mr. Caseria

       As you are aware, we represent Dominion Enterprises, Inc. (“Dominion”) in connection with the
above-referenced litigation. We write in response to the subpoena to testify at a deposition to non-party
Dominion Enterprises, Inc. received on February 26, 2019. Dominion wishes to preserve its rights under
the Federal Rules of Civil Procedure by asserting its objection to the Subpoena.

        The deposition was set for April 15, 2019. You indicated to me that this was just a placeholder.
Nevertheless, Dominion objects to the date of the deposition. As you are well aware, Dominion has
objected to the treatment of its confidential materials under the current Confidentiality Order (“Order”).
Judge Dow is currently considering Dominion’s objections to that Order. Judge Dow indicated that he would
issue an opinion on Dominion’s objections in April, but unfortunately, we do not now when in April, or if he
may push that date back. Accordingly, Dominion will not appear for a deposition until Dominion’s objections
to the Order have finally been decided.


Sincerely,

Marc G. Schildkraut /s/
Marc G. Schildkraut




                      Cooley LLP 1299 Pennsylvania Avenue, NW, Suite 700 Washington, DC 20004-2400
                                       t: (202) 842-7800 f: (202) 842-7899 cooley.com
